  Case: 1:25-cv-00703 Document #: 34-1 Filed: 02/07/25 Page 1 of 21 PageID #:476




                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION


JUMP OPERATIONS, LLC,

               Plaintiff,

     v.                                      Case No. 1:25-cv-00703

LIAM HEEGER,

               Defendant.


        DEFENDANT’S MEMORANDUM OF LAW IN SUPPORT OF HIS
   MOTION TO DISMISS PLAINTIFF’S COMPLAINT FOR INJUNCTIVE RELIEF
    Case: 1:25-cv-00703 Document #: 34-1 Filed: 02/07/25 Page 2 of 21 PageID #:477


                                                   TABLE OF CONTENTS

                                                                                                                                        Page


RELEVANT ALLEGATIONS ...................................................................................................... 2
ARGUMENT ................................................................................................................................. 4
          I.         JUMP DOES NOT ESTABLISH A BASIS FOR EQUITABLE
                     REMEDIES............................................................................................................ 4
          II.        PLAINTIFF’S DUTY OF LOYALTY CLAIM SHOULD BE
                     DISMISSED. ......................................................................................................... 6
                     A.         Jump fails to plead facts sufficient to allege Liam breached a duty
                                of loyalty. ................................................................................................... 7
                     B.         Jump does not allege any harm from Liam’s purported breach of
                                the duty of loyalty. ..................................................................................... 8
          III.       PLAINTIFF FAILS TO STATE A CLAIM FOR BREACH OF THE
                     NONCOMPETE AGREEMENT........................................................................... 9
                     A.         Section 16600 voids the Noncompete Agreement. .................................... 9
                     B.         The Noncompete Agreement is unenforceable under Illinois law........... 10
                                1.         The Noncompete Agreement does not protect any
                                           legitimate business interest of Jump and is overly broad. ........... 10
                                           a.         The Noncompete Agreement operates as an industry
                                                      ban. ................................................................................... 11
                                           b.         The Noncompete Agreement is unreasonable in
                                                      time and geographic scope. .............................................. 12
                                2.         The Noncompete Agreement is oppressive and injurious to
                                           the public. ..................................................................................... 13
                                3.         The Noncompete Agreement is not supported by adequate
                                           consideration under the IFWA. .................................................... 14
          IV.        PLAINTIFF FAILS TO STATE A CLAIM FOR BREACH OF THE
                     CONFIDENTIALITY AGREEMENT. ............................................................... 14
CONCLUSION ............................................................................................................................ 16




                                                                      -i-
   Case: 1:25-cv-00703 Document #: 34-1 Filed: 02/07/25 Page 3 of 21 PageID #:478


                                              TABLE OF AUTHORITIES

Cases                                                                                                                      Page


Arcor, Inc. v. Haas,
   363 Ill. App. 3d 396 (2005) ...............................................................................................11, 13

AssuredPartners, Inc. v. Schmitt,
   44 N.E.3d 463 (Ill. App. Ct. 2015) ....................................................................................10, 13

Autotech Tech. Ltd. P’ship v. Automationdirect.com,
   471 F.3d 745 (7th Cir. 2006) .....................................................................................................6

Bougie v. Barth-Niggemann,
   2022 WL 152873 (Ill. App. Ct. Jan. 18, 2022) ..........................................................................6

Brickstructures, Inc. v. Coaster Dynamix, Inc.,
    2017 WL 4310671 (N.D. Ill. Sept. 28, 2017) ...........................................................................8

Busey Bank v. Turney,
   2022 WL 4079462 (N.D. Ill. Sept. 6, 2022) ............................................................................15

Cambridge Eng’g, Inc. v. Mercury Partners 90 BI, Inc.,
  879 N.E.2d 512 (Ill. App. Ct. 2007) ..................................................................................10, 12

Cincinnati Tool Steel Co. v. Breed,
   482 N.E.2d 170 (Ill. App. Ct. 1985) ..........................................................................................5

Dancor Const., Inc. v. FXR Const., Inc.,
   64 N.E.3d 796 (Ill. App. Ct. 2016) ..........................................................................................10

Destiny Health, Inc. v. Conn. Gen. Life Ins. Co.,
   39 N.E.3d 275 (Ill. App. Ct. 2015) ..........................................................................................14

DM Trans, LLC v. Scott,
  38 F.4th 608 (7th Cir. 2022) ..................................................................................................5, 6

Elleby v. Forest Alarm Serv., Inc.,
    164 N.E.3d 613 (Ill. App. Ct. 2020) ..........................................................................................7

Fleetwood Packaging v. Hein,
   2014 WL 7146439 (N.D. Ill. Dec. 15, 2014) ...........................................................................15

Glazer v. Priv. Residences at Ont. Place Condo. Ass’n,
   205 N.E.3d 163 (Il. App. Ct. 2022) ...........................................................................................9

Goplin v. WeConnect, Inc.,
   893 F.3d 488 (7th Cir. 2018) .....................................................................................................2


                                                                -ii-
   Case: 1:25-cv-00703 Document #: 34-1 Filed: 02/07/25 Page 4 of 21 PageID #:479


                                             TABLE OF AUTHORITIES
                                                   (continued)
                                                                                                                          Page


Ill. Beta Chapter of Sigma Phi Epsilon Fraternity Alumni Bd. v. Ill. Inst. of Tech.,
     946 N.E.2d 1118 (Ill. App. Ct. 2011) ........................................................................................6

Ixmation, Inc. v. Switch Bulb Co., Inc.,
   2014 WL 5420273 (N.D. Ill. Oct. 23, 2014)..............................................................................4

Laba v. Chi. Transit Auth.,
   2016 WL 147656 (N.D. Ill. Jan. 13, 2016) ................................................................................7

LaSalle Bank Lake View v. Seguban,
   937 F. Supp. 1309 (N.D. Ill. 1996) ............................................................................................8

Liautaud v. Liautaud,
   221 F.3d 981 (7th Cir. 2000) .............................................................................................10, 13

LKQ Corp. v. Rutledge,
  96 F.4th 977 (7th Cir. 2024) ....................................................................................................13

nClosures Inc. v. Block & Co.,
   770 F.3d 598 (7th Cir. 2014) ...................................................................................................15

Oce N. Am., Inc. v. Brazeau,
   2010 WL 5033310 (N.D. Ill. Mar. 18, 2010) .....................................................................12, 13

Prairie Rheumatology Assocs., S.C. v. Francis,
   24 N.E.3d 58 (Ill. App. Ct. 2014) ............................................................................................14

Saban v. Caremark Rx, LLC
   780 F. Supp. 2d 700 (N.D. Ill. 2011) .........................................................................................5

Shaffer v. Globe Prot., Inc.,
   721 F.2d 1121 (7th Cir. 1983) ...................................................................................................5

Symbria, Inc. v. Callen,
   2022 WL 60530 (N.D. Ill. Jan. 6, 2022) ....................................................................................8

Triumph Packaging Grp. v. Ward,
    834 F. Supp. 2d 796 (N.D. Ill. 2011) ...........................................................................10, 12, 13

Unisource Worldwide, Inc. v. Carrara,
   244 F. Supp. 2d 977 (C.D. Ill. 2003) .......................................................................................12

Unite Here Health v. La Plaza Secaucus, LLC,
   2014 WL 287447 (N.D. Ill. Jan. 27, 2014) ................................................................................5



                                                               -iii-
    Case: 1:25-cv-00703 Document #: 34-1 Filed: 02/07/25 Page 5 of 21 PageID #:480


                                                 TABLE OF AUTHORITIES
                                                       (continued)
                                                                                                                                    Page


United Asset Coverage, Inc. v. Avaya Inc.,
   409 F. Supp. 2d 1008 (N.D. Ill. 2006) .......................................................................................4

Statutes

Bus. & Prof. Code
   § 16600.................................................................................................................................9, 14




                                                                     -iv-
    Case: 1:25-cv-00703 Document #: 34-1 Filed: 02/07/25 Page 6 of 21 PageID #:481




         Defendant Liam Heeger (“Liam”) is a talented engineer with nearly a decade’s experience

building software. He has been working in the cryptocurrency industry for the last five years.

Throughout his career, Liam has regularly taken on new challenges and expanded the scope of his

work with the goal of pushing the boundaries and innovating on existing technology. Now, Liam

is faced with a former employer—Jump Operations, LLC (“Jump”)—who seeks to obstruct that

innovation without any valid business interest, driven solely by its blatant desire to control and

illegitimately claim ownership over a company Liam is launching.

         Liam did not launch a competitive business or steal any of his former employer’s property

or information. Liam is building, from the ground up, the foundational structure (also known as

“layer-1”) for a new blockchain network. 1 By contrast, at Jump, Liam built discrete tools to enable

specific functionalities for existing blockchain networks operated by other entities—not Jump. If

allowed to continue, both Liam and Jump will operate in different segments of the cryptocurrency

industry. They will have distinct product offerings intended to address distinct markets. These

ventures are undeniably complementary rather than competitive. Jump is not facing imminent,

irreparable harm through Liam continuing with his work. There is no reason for this matter to be

before this Court.

         Jump’s Complaint seeking injunctive relief fails for four primary reasons. First, Jump has

not established a legitimate business interest supporting the extraordinary equitable remedies it is

seeking from this Court pending resolution of the matter in arbitration. Second, there is no

plausible allegation that Liam breached his duty of loyalty to Jump during his employment or that




1
 A “blockchain” or “blockchain network” is a technology product that acts as a digital, decentralized, public ledger
that maintains records of digital asset ownership and transactions. ECF No. 13 (“Compl.” or “Complaint”) ¶ 18. A
layer-1 blockchain—what Liam is building—is the foundational structure of a blockchain network, such as Solana,
Bitcoin, or Ethereum. It is called “layer-1” because it provides the core rules, infrastructure, and security for the entire
network, upon which other applications and technologies can be built. See id. ¶¶ 21-22.


                                                            -1-
    Case: 1:25-cv-00703 Document #: 34-1 Filed: 02/07/25 Page 7 of 21 PageID #:482




any such speculative breach harmed Jump. Third, the Complaint cannot state a breach of contract

claim based on the noncompete where the contract at issue violates both Illinois and California

law. Fourth, the claim premised on alleged breach of the nondisclosure obligation fails as a matter

of law because the Complaint does not plausibly identify any protectible confidential information

with specificity, much less the theft or use of such information.

         To allow such a legally flawed Complaint to evade dismissal and force Liam to incur the

costs of opposing a preliminary injunction motion would reward Jump’s unjustified efforts seeking

to disrupt and block Liam’s innovative work based solely on its illegitimate desire to own and

control whatever Liam creates. There is no urgent need for Court intervention, no forensics

showing any theft of confidential information or intellectual property belonging to Jump, and no

legitimate business interest connected to the claims in the Complaint that supports the injunctive

relief sought. Simply put, there is no basis for the matter to be before this Court, and the Complaint

should be dismissed.

                                       RELEVANT ALLEGATIONS

         Liam is a software engineer who worked for Jump for less than two years on a contract to

build a blockchain validator client for Jump’s customer Solana Foundation (“Solana”). 2

Compl. ¶¶ 1, 22, 24-25. This is Jump’s business in the crypto industry: Jump exclusively builds

tools to enhance existing blockchain networks. 3 By contrast, Liam left Jump to build his own layer-

1 blockchain network and is not seeking to sell any services or tools to existing blockchain



2
  A blockchain is comprised of many technological parts, including a mechanism to confirm transactions are legitimate
and accurate (a “validator”). Compl. ¶ 18.
3
  See Jump Crypto Sets Out to Build New Validator Client for the Solana Blockchain to Increase the Throughput and
Reliability of the Network, Jump Crypto (Aug. 16, 2022), https://jumpcrypto.com/writing/jump-crypto-sets-out-to-
build-new-validator-client-for-the-solana-blockchain-to-increase-the-throughput-and-reliability-of-the-network/
(“Jump Crypto will propose significant upgrades to Solana’s open-source core software along with building a second
and new validator client, separate from the one originally built by Solana Labs.”). The Court can take judicial notice
of public websites of the parties. See Goplin v. WeConnect, Inc., 893 F.3d 488, 491 (7th Cir. 2018).

                                                         -2-
    Case: 1:25-cv-00703 Document #: 34-1 Filed: 02/07/25 Page 8 of 21 PageID #:483




networks. See Compl. ¶ 5. Jump does not allege Liam is developing tools, enhancements, or other

products or services for any other blockchain network developers, including Solana. In other

words, in no scenario will Liam sell or market any product or service Jump develops or offers.

Indeed, Jump openly admits that the blockchain network it seeks to protect from competition is

not even Jump’s intellectual property—it belongs to its customer, Solana. See id. ¶ 22.

         In 2022, Solana hired Jump to develop a new validator tool for Solana’s network. Id. ¶¶ 22-

23. Liam started working on Project Firedancer—Jump’s name for the validator tool—in 2023.

Id. ¶¶ 22, 24-25. The Complaint does not identify with any particularity (beyond categories and

broad generalities) what confidential information belonging to Jump is involved with Project

Firedancer. In fact, Jump’s Complaint entirely glosses over the fact that nearly all the software

code for Project Firedancer is open source and available to anyone to use however they want.4

The same is true for the code related to the Solana blockchain. 5

         When Liam began employment at Jump, he signed an employment offer letter and

agreements with Jump that contain nondisclosure obligations (the “Confidentiality Agreement”)

and a noncompetition covenant (the “Noncompete Agreement”). Compl. ¶ 34. Liam has been

transparent with Jump about his intention to build a new blockchain network. Id. ¶¶ 63, 65. He has

repeatedly provided assurances that he has no intention of using or disclosing any of Jump’s

confidential information as part of that work. Id. ¶¶ 63, 67. Jump does not dispute that Liam is


4
  See Firedancer Guide, https://docs.firedancer.io/guide/firedancer.html (last updated Aug. 26, 2024, 12:01 PM)
(“Firedancer is open source and being developed on GitHub. All contributions are welcome. Jump is currently the
primary contributor as the project is in the initial development phase, but Firedancer is a decentralized, community
validator and project stewardship will be transitioned to the community as the project matures.”).
5
  This free use ethos is reflected in statements from Solana Foundation, which describes the Solana blockchain as
follows: “Anyone in the world can view, download, modify the validator source code, and run the software to
participate in the operation and security of the network. There is no single entity that controls how the network runs,
or what kinds of applications or services can be built or used on top of the network. In this way, Solana is
‘permissionless,’ meaning that nobody needs anyone’s permission to participate, develop, extend or use the network.”
Solana Foundation, Validator Health Report: August 2022 (Aug. 9, 2022), https://solana.com/news/validator-health-
report-august-2022.

                                                         -3-
  Case: 1:25-cv-00703 Document #: 34-1 Filed: 02/07/25 Page 9 of 21 PageID #:484




building a blockchain network and not tools. See id. ¶ 63. Instead, it is alleging that Liam cannot

do anything in the cryptocurrency industry (regardless of whether Jump does it or not) based on

the provisions in his Noncompete Agreement. See infra 11-12; Compl., Ex. B.

         Jump also does not allege that Liam stole anything when he left his employment. Instead,

Jump speculates that Liam will “inevitably” use Jump’s “Confidential and/or Proprietary

Information,” Compl. ¶ 87, but nowhere indicates what information, if any, Liam will use, much

less when, how, or where he will use or disclose it, id. ¶ 80. And while the Complaint alleges

without support that Liam began working on this new blockchain during his employment at Jump,

id. ¶ 69, the Complaint provides no specifics on what work Liam supposedly did beyond

speculation and conclusory assertions.

                                            ARGUMENT

         I.          JUMP DOES NOT ESTABLISH A BASIS FOR EQUITABLE REMEDIES.

         The parties contractually designated the American Arbitration Association (“AAA”) as the

appropriate forum to resolve disputes regarding Liam’s employment, and Jump has already

initiated an arbitration proceeding with the AAA. See Compl. ¶¶ 9, 14, Ex. D § 10(c). Jump

concedes its claims can only survive in this Court to the extent it alleges imminent, irreparable

harm warranting injunctive relief. See id. ¶ 9; United Asset Coverage, Inc. v. Avaya Inc., 409 F.

Supp. 2d 1008, 1041 (N.D. Ill. 2006) (plaintiff must show harm that is both irreparable and

imminent to be entitled to injunctive relief). Any causes of action for which Jump does not state a

claim for injunctive relief must be resolved in arbitration.

         Jump, however, does not identify actual and imminent irreparable injury, even though over

three months have passed since Liam resigned from Jump. See Compl. ¶ 61; Ixmation, Inc. v.

Switch        Bulb    Co.,   Inc.,   2014   WL    5420273,     at   *7   (N.D.    Ill.   Oct.   23,



                                                 -4-
     Case: 1:25-cv-00703 Document #: 34-1 Filed: 02/07/25 Page 10 of 21 PageID #:485




2014) (“[U]nexcused delay . . . implies a lack of urgency and irreparable harm.”); 6 Shaffer v.

Globe Prot., Inc., 721 F.2d 1121, 1123 (7th Cir. 1983) (finding plaintiff’s two-month delay to be

“inconsistent with a claim of irreparable injury”). Jump has not alleged Liam exfiltrated any of

Jump’s documents or files or used any of Jump’s intellectual property or confidential information.

It has not said Liam’s new venture will do what Jump does, i.e., develop tools or services for

blockchain networks. Rather, Jump argues equitable relief is necessary to protect against

generalized, potential, and future harm, speculating it “has suffered or will suffer irreparable

injury . . . in the form, among others, of actual and potential misuse of and/or release of highly

confidential and proprietary information by and to a competitor.” Compl. ¶ 88.

           This is insufficient to state a claim for injunctive relief under Illinois law. See, e.g., DM

Trans, LLC v. Scott, 38 F.4th 608, 621 (7th Cir. 2022) (holding a former employee’s use of

confidential information did not warrant injunctive relief without an identifiable threat of

irreparable harm that could not be alternatively remedied); Cincinnati Tool Steel Co. v. Breed, 482

N.E.2d 170, 174 (Ill. App. Ct. 1985) (affirming denial of preliminary injunction where “[a]ny

suggestion that defendant did take documents on this record ‘is purely speculative’ and insufficient

to establish irreparable injury”); Saban v. Caremark Rx, LLC, 780 F. Supp. 2d 700, 714-15 (N.D.

Ill. 2011) (finding no irreparable harm absent showing that any confidential information of former

employer had been disclosed or used by former employee in new employment).

           Jump’s suggestion that competition between Solana and Jump could negatively affect

Solana’s viability as a blockchain network (i.e., result in decreased business flowing from Solana

to Jump, see Compl. ¶ 64) is just more speculation. Any attenuated harm to Jump in this years-

down-the-line scenario is certainly not imminent—nor irreparable. See Unite Here Health v. La



6
    Unless otherwise noted, all emphasis is added, and all citations and quotations are omitted.

                                                            -5-
  Case: 1:25-cv-00703 Document #: 34-1 Filed: 02/07/25 Page 11 of 21 PageID #:486




Plaza Secaucus, LLC, 2014 WL 287447, at *2 (N.D. Ill. Jan. 27, 2014) (“[A] plaintiff cannot obtain

a preliminary injunction by speculating about hypothetical future injuries.”). Moreover, the value

of Jump’s contract with Solana is quantifiable, and thus money damages could remedy any

hypothetical harm. See DM Trans, LLC, 38 F.4th at 621 (rejecting allegation that defendants’ use

of confidential information could give rise to irreparable harm through lost sales and profits where

lost sales and profits could be quantified); Ill. Beta Chapter of Sigma Phi Epsilon Fraternity

Alumni Bd. v. Ill. Inst. of Tech., 946 N.E.2d 1118, 1122 (Ill. App. Ct. 2011) (“Injunctive relief is

disfavored where the gravamen of a complaint is breach of contract and the trial court could award

damages if it found a breach occurred.”).

       Jump tries to fall back on language in Liam’s Noncompete Agreement to allege irreparable

harm, Compl. ¶ 8, but ignores that a contractual provision avowing irreparable harm is

“insufficient to support a finding of irreparable harm and an award of injunctive relief” “and d[oes]

not eliminate the need to meet the requirements for a permanent injunction.” Bougie v. Barth-

Niggemann, 2022 WL 152873, at *11 (Ill. App. Ct. Jan. 18, 2022). Jump has simply not met its

burden to plausibly allege facts that irreparable and imminent harm will occur and therefore cannot

proceed with its claims in this Court. The arbitration proceeding is the appropriate forum.

       II.     PLAINTIFF’S DUTY OF LOYALTY CLAIM SHOULD BE DISMISSED.

       Jump alleges Liam breached a duty of loyalty because he did not devote his “full business

time, attention, and best efforts to the performance of [his] duties” during the final weeks of his

employment. Compl. ¶ 72. Jump’s claim fails because, relying on speculation alone, Jump is

unable to plead a breach of any duty of loyalty, much less allege how any purported breach is tied

to any harm to Jump. See Autotech Tech. Ltd. P’ship v. Automationdirect.com, 471 F.3d 745, 748

(7th Cir. 2006) (plaintiff must establish “the existence of a fiduciary duty, breach of that duty, and

damages proximately resulting from that breach”).

                                                 -6-
  Case: 1:25-cv-00703 Document #: 34-1 Filed: 02/07/25 Page 12 of 21 PageID #:487




       A.      Jump fails to plead facts sufficient to allege Liam breached a duty of loyalty.

       Jump alleges Liam breached a duty of loyalty because “it appears [Liam] started work on

[a] competing venture” while still an employee at Jump. Compl. ¶ 7. Jump’s speculation relies on

four specious allegations. According to Jump, Liam must have worked on a new project during his

final weeks because he (i) announced he was launching a business one month after he resigned,

id. ¶ 69; (ii) exhibited “odd behavior during his final weeks,” id.; (iii) proffered an allegedly false

pretense for his resignation, id. ¶ 61; and (iv) purportedly held “secret” meetings with venture

capital firms at Solana’s Breakpoint conference, id. ¶¶ 57, 69.

       These allegations are pure guesswork—as Jump itself acknowledges, see, e.g., id. ¶¶ 5

(alleging Liam had secured funding within one month after his resignation “and potentially

earlier”); 7 (stating it “appears” Liam began preparing to launch his new venture prior to

separating from Jump); 57, 59, 66 (alleging breach “on information and belief”). First, the fact

that Liam was working on a new project a month after his employment with Jump ended does not

ipso facto make it plausible that he was secretly working on this project before his separation.

Jump “cannot state a claim for breach of fiduciary duty by alleging potentially improper conduct.”

Elleby v. Forest Alarm Serv., Inc., 164 N.E.3d 613, 627 (Ill. App. Ct. 2020) (cleaned up).

       Second, allegations that Liam was texting more than normal and seemed “stressed and

distracted from his work,” Compl. ¶ 59, “amount[] to negligent job performance, rather than

disloyalty.” Laba v. Chi. Transit Auth., 2016 WL 147656, at *7 (N.D. Ill. Jan. 13, 2016)

(distinguishing “unusual” behavior and “substandard job performance” from cases where

employees breached their duties by downloading confidential documents or embezzling funds).

       Third, Liam’s truthful statement to Jump that he was resigning because he was “just not

enjoying [his] work at Jump any more, among other factors” does not support Jump’s claim that

“he had been acting improperly” during his final weeks of employment. Compl. ¶ 61. This is pure

                                                 -7-
  Case: 1:25-cv-00703 Document #: 34-1 Filed: 02/07/25 Page 13 of 21 PageID #:488




speculation and falls short of the plausibility standard, which “requires [Jump] to allege facts that

add up to more than a sheer possibility that [Liam] acted unlawfully.” Brickstructures, Inc. v.

Coaster Dynamix, Inc., 2017 WL 4310671, at *4 (N.D. Ill. Sept. 28, 2017).

        Finally, Jump’s allegation that Liam held “secret” meetings with venture capital firms

during a Solana conference, Compl. ¶¶ 57, 69, is also just conjecture. See e.g., id. ¶¶ 57 (alleging

off-stage meetings “on information and belief”), 69 (alleging “apparent” meetings). Even had such

a meeting occurred, a mere meeting with a venture capital firm at a conference where many venture

capital firms were in attendance does not equate to breach of the duty of loyalty.

        In sum, Jump has failed to support its breach of loyalty claim with any plausible factual

allegations. There is no evidence and no allegation that Liam developed any technology for his

new venture prior to his resignation. That Liam used a personal GitHub account throughout his

employment in performing his duties for Jump is entirely unremarkable. The account is public—

https://github.com/CantelopePeel?tab=overview&from=2024-05-01&to=2024-05-31—and

shows that Liam used it to work on Project Firedancer, which is open source and available for

anybody to use however they want, see supra n.4. Moreover, Jump’s speculations about Liam’s

allegedly disloyal behavior are easily distinguished from the allegations that Illinois courts

typically find sufficient to state a claim for breach of the duty of loyalty. See, e.g., Symbria, Inc. v.

Callen, 2022 WL 60530, at *17 (N.D. Ill. Jan. 6, 2022) (downloading and copying an employer’s

data for the purposes of competing with that employer later”); LaSalle Bank Lake View v.

Seguban, 937 F. Supp. 1309, 1324 (N.D. Ill. 1996) (embezzling funds from employer). Jump’s

generic and speculative claims about Liam pale in comparison and must be dismissed.

        B.      Jump does not allege any harm from Liam’s purported breach of the duty of
                loyalty.

        Beyond failing to establish a breach, Jump has also failed to establish any harm caused by


                                                  -8-
  Case: 1:25-cv-00703 Document #: 34-1 Filed: 02/07/25 Page 14 of 21 PageID #:489




Liam’s new venture—whether resulting from work after his resignation or from the supposed work

Jump speculates he engaged in prior. Indeed, no harm could exist where Liam’s new project does

not compete with Jump, see, e.g., supra 2-3. It is unsurprising, then, that Jump fails to identify any

harm resulting from Liam’s alleged breach of a duty of loyalty. Even if harm were to exist (and it

is unclear how that would be possible), Jump has not shown how or why money damages would

be insufficient to make Jump whole, as required to obtain injunctive relief, see supra 6. Jump’s

claim should be dismissed by this Court and instead proceed in the already-initiated arbitration

proceedings. Glazer v. Priv. Residences at Ont. Place Condo. Ass’n, 205 N.E.3d 163, 173 (Il. App.

Ct. 2022) (affirming dismissal of breach of fiduciary duty claim where “[i]t is clear from the face

of plaintiffs’ complaint that they suffered no injury from any alleged breach”).

       III.    PLAINTIFF FAILS TO STATE A CLAIM FOR BREACH OF THE
               NONCOMPETE AGREEMENT.

       Jump’s noncompete claim fails because Jump cannot plead the existence of a valid and

enforceable contract: the Noncompete Agreement is void under California’s Bus. & Prof. Code

Section 16600 (“Section 16600”) and unenforceable under Illinois common law and the Illinois

Freedom to Work Act (820 Ill. Comp. Stat. Ann., referred to herein as the “IFWA”).

       A.      Section 16600 voids the Noncompete Agreement.

       The Noncompete Agreement is void because Liam is a California citizen, see Compl. ¶ 11.

California shares the state of Illinois’ distrust of noncompetes and passed a law last year, SB 699,

which strengthened Section 16600’s long-standing noncompete ban to encompass out-of-state

agreements. Section 16600 applies “regardless of where and when the contract was signed” and

“regardless of whether . . . the employment            was maintained outside of California.”

Section 16600.5(a)-(b). Under the applicable choice of law analysis, California has a materially

greater interest in not enforcing the Noncompete Agreement against one of its citizens than Illinois


                                                 -9-
  Case: 1:25-cv-00703 Document #: 34-1 Filed: 02/07/25 Page 15 of 21 PageID #:490




has in enforcing it, particularly where Illinois already disfavors noncompetes. Dancor Constr., Inc.

v. FXR Constr., Inc., 64 N.E.3d 796, 815 (Ill. App. Ct. 2016) (applying New York law where New

York had a materially greater interest in the determination of the Illinois forum-selection-clause

issue and Illinois “implicitly share[d]” New York’s interest).

       B.      The Noncompete Agreement is unenforceable under Illinois law.

       Even assuming California law does not apply, Jump’s claim fails because it has not alleged

a valid and enforceable contract under Illinois law. Illinois courts “abhor restraints on trade” and

therefore “carefully scrutinize[]” restrictive covenants.” Liautaud v. Liautaud, 221 F.3d 981, 986

(7th Cir. 2000). Noncompetes cannot “1) impose restrictions greater than those necessary to protect

the legitimate interests of the protected party; 2) [be] oppressive to the restricted party; or 3) [be]

harmful to the general public.” Triumph Packaging Grp. v. Ward, 834 F. Supp. 2d 796, 814 (N.D.

Ill. 2011). Liam’s noncompete is unenforceable because it fails each prong. On top of that, it lacks

adequate consideration under the IFWA.

               1.      The Noncompete Agreement does not protect any legitimate business
                       interest of Jump and is overly broad.

       Under the IFWA and Illinois common law, restrictions “should be narrowly tailored to

protect only against activities that threaten the employer’s interest.” Cambridge Eng’g, Inc. v.

Mercury Partners 90 BI, Inc., 879 N.E.2d 512, 526 (Ill. App. Ct. 2007); IFWA 90/15(3) (the

covenant cannot be greater than is required for the protection of a legitimate business interest).

“Whether a legitimate business interest exists is based on the totality of the facts,” including “the

employee’s acquisition of confidential information through his employment, and time and place

restrictions.” AssuredPartners, Inc. v. Schmitt, 44 N.E.3d 463, 471 (Ill. App. Ct. 2015).




                                                 -10-
  Case: 1:25-cv-00703 Document #: 34-1 Filed: 02/07/25 Page 16 of 21 PageID #:491




                          a.       The Noncompete Agreement operates as an industry ban.

        Here, the Noncompete Agreement is as far from “narrowly tailored” as you can get. It

prohibits Liam from “engag[ing] directly or indirectly in Competitive Activity, including assisting

another to engage in Competitive Activity,” and defines “Competitive Activity” as engaging in or

doing any of nineteen activities, such as, for example, “any activity that constitutes part of the

Business of the Group Companies to the extent such activity is Related Activity.” Compl., Ex.

B § 2. The terms “Business” and “Related Activity” are in turn defined so broadly as to encompass

the entire financial services and cryptocurrency industries, see id. §§ 1(a), 2(f). 7

         What the Noncompete Agreement prohibits Liam from doing is much broader than what

he in fact did at Jump. At Jump, Liam built tools to enable specific functionalities for existing

layer-1 blockchains operated by other entities; in the company he is starting, Liam is building a

new layer-1 blockchain, something he never did at Jump and something Jump does not do, see

supra 2-3. But the Noncompete Agreement, at least as Jump seeks to enforce it, would forbid Liam

from creating this company—or indeed doing nearly anything in the crypto industry (or even

anything in asset management, see id., Ex. B § 1(a)(i)). It is unclear what job in the industry would

be acceptable under the noncompete if it prohibits Liam from even developing something Jump

does not sell or build.

        Illinois courts consistently find broad noncompetes like these unenforceable because

precluding employees “from working, in any capacity, in the [employer’s] industry” does not serve

any legitimate business interest. Arcor, Inc. v. Haas, 363 Ill. App. 3d 396, 405-06, (2005)



7
  “Business,” for example, covers everything from “trading and investing in and with reference to a wide range of
products, instruments, items and events” to “blockchain validation/mining; blockchain infrastructure-as-a-service;
blockchain networks, protocols, chains, platforms, and tokens (collectively, ‘Blockchain Projects’); and systems and
platforms for use in connection with Blockchain Projects.” Compl., Ex. B § 1(a). Remarkably, the Noncompete
Agreement describes Jump’s business as broader than it is. For example, Jump is not (nor has any plans to be) in the
business of developing “blockchain networks, protocols, chains, platforms, and tokens.” Id; see supra 2-3.

                                                       -11-
  Case: 1:25-cv-00703 Document #: 34-1 Filed: 02/07/25 Page 17 of 21 PageID #:492




(covenant which prohibited employee from “entering into or engaging in the business conducted

by employer” constituted a “blanket prohibition on competition”); Cambridge Eng’g, Inc., 378 Ill.

App. 3d at 450 (noncompete that prevented employee from “engag[ing] in any business that

competes with [the former] [e]mployer” was unnecessary to protect legitimate business interests

where it barred “all activities on behalf of competitors . . . , regardless of whether they are actually

competitive”); Oce N. Am., Inc. v. Brazeau, 2010 WL 5033310, at *9 (N.D. Ill. Mar. 18, 2010)

(noncompete was unenforceable where it prohibited employee from working with any company

that competes with plaintiff in any segment of the [relevant industry] nationwide).

        The Noncompete Agreement’s blanket ban on all activities in any way related to Jump’s

business is particularly egregious “in light of the limited arenas in which [Liam]’s knowledge [of

Jump information] would be competitively useful.” Cambridge Eng’g., 378 Ill. App. at 452. Jump

has not even identified, beyond broad categories, see Compl. ¶ 28, the confidential and proprietary

information supposedly at risk of misuse—or indeed how the information would be of any use to

Liam in building a blockchain that, if anything, would compete with Solana, not Jump, see id. ¶ 64.

Jump fails to allege a legitimate business interest on these facts. Unisource Worldwide, Inc. v.

Carrara, 244 F. Supp. 2d 977, 989 (C.D. Ill. 2003) (finding noncompete lacked a legitimate

business interest because the information plaintiff sought to protect was not confidential).

                        b.      The Noncompete Agreement is unreasonable in time and
                                geographic scope.

        Jump seeks to enforce an unreasonably lengthy noncompete of two years, Compl. ¶ 62, to

be tolled in the event of an alleged breach, with the possibility of a six-month extension, id.,

Ex. B §§ 8, 3(a). This is temporally overbroad. See Triumph Packaging, 834 F. Supp. 2d at 815

(finding noncompete with 24-month restricted period unenforceable and “very lengthy”); Oce N.

Am., 2010 WL 5033310 at *9 (finding unenforceable a one-year covenant not to compete that


                                                 -12-
    Case: 1:25-cv-00703 Document #: 34-1 Filed: 02/07/25 Page 18 of 21 PageID #:493




barred former employee from working for a “competing business” in the United States). As for

any geographic restrictions, the Noncompete Agreement has none, see Compl., Ex. B, and is thus

unreasonably broad in territorial reach as well. See Arcor, 363 Ill. App. 3d at 405 (noncompete

unenforceable where it contained no geographic limitation); Triumph Packaging, 834 F. Supp. 2d

at 814 (noncompete prohibiting employee from working with any competitor “within any

geographical area” in which employer did business or had plans to do business was “extremely

broad in geographical scope” and unenforceable). 8

        The result is a noncompete that prohibits Liam from working in the crypto industry

anywhere in the world for at least two years. Jump has not alleged any legitimate business interest

requiring such a broad restraint on trade and thus fails to plead the existence of a valid contract.

                 2.       The Noncompete Agreement is oppressive and injurious to the public.

        The Noncompete Agreement’s overbreadth makes it unduly burdensome on Liam and

injurious to the public. The restrictive covenant is oppressive because it “forecloses work within

an entire industry” for two years, limiting Liam’s “right to ply his trade.” LKQ Corp. v. Rutledge,

96 F.4th 977, 982 (7th Cir. 2024) (striking noncompete); AssuredPartners, Inc., 44 N.E.3d at 473

(finding undue hardship where noncompete forced employee to work in another country if he

wanted to continue earning a living in his chosen industry). Enforcing the overbroad Noncompete

Agreement also hurts the public because it pumps the brakes on a new business which could drive

job creation and innovation. See Liautaud, 221 F.3d at 988 (“[T]he complete ban on expansion is

injurious to the public because it . . . stifles competition.”). Plaintiff should not be permitted to



8
  The Noncompete Agreement’s time and place restrictions are particularly unreasonable because Liam’s post-
employment activity is already heavily circumscribed, see supra 11. Where “the temporal and geographic restrictions
on an employee’s conduct are broad, as they are here, the agreement’s activity restrictions should be correspondingly
narrowly drawn to protect the employee’s ability to be employed in his chosen field.” Oce N. Am., 2009 WL 6056775,
at *8 (finding unenforceable a one-year noncompete that barred former employee from working for a “competing
business” in the United States).

                                                       -13-
  Case: 1:25-cv-00703 Document #: 34-1 Filed: 02/07/25 Page 19 of 21 PageID #:494




unlawfully restrict a California resident’s ability to earn a living, in violation of Section 16600 and

despite Illinois’ abhorrence of restraints on trade, just to punish Liam for leaving Jump’s employ.

               3.      The Noncompete Agreement lacks adequate consideration under the
                       IFWA.

       Finally, the Noncompete Agreement is unenforceable as a matter of law under the IFWA,

which requires noncompetes be supported by adequate consideration in the form of at least two

years of employment, unless the employer provides other consideration sufficient to support the

restrictive covenant, such as additional professional or financial benefits. IFWA 90/5. Here, Liam

worked for Jump for less than two years, see Compl. ¶¶ 24, 61, and Jump provides no other

adequate consideration tied specifically to his noncompete obligations. The closest thing is a post-

termination payment that Jump retains the sole and exclusive discretion to pay—an illusory benefit

that cannot form the basis of a promise not to compete. See id., Ex. B § 4(b); Prairie Rheumatology

Assocs., S.C. v. Francis, 24 N.E.3d 58, 63 (Ill. App. Ct. 2014) (noncompete lacked adequate

consideration where defendant was employed for less than two years and any purported additional

consideration was “illusory benefits”). The noncompete is therefore unenforceable under the

IFWA, and Jump fails to state its breach of contract claim.

       IV.     PLAINTIFF FAILS TO STATE A CLAIM FOR BREACH OF THE
               CONFIDENTIALITY AGREEMENT.

       Jump claims Liam “has breached and is threatening to further breach his non-disclosure

and non-use obligations” under the Confidentiality Agreement, Compl. ¶ 85, but “fails to identify,

with any degree of particularity, the alleged . . . confidential information” that is supposedly at risk

of misuse. See Destiny Health, Inc. v. Conn. Gen. Life Ins. Co., 39 N.E.3d 275, 282 (Ill. App. Ct.

2015) (“[I]t is not enough to point to broad areas of technology and assert that something there

must have been secret and misappropriated.”).

        Moreover, for the generic categories that Jump does identify—“strategies, proprietary data,

                                                 -14-
  Case: 1:25-cv-00703 Document #: 34-1 Filed: 02/07/25 Page 20 of 21 PageID #:495




research, and technology,” Compl. ¶ 28—Jump fails to plead with any granularity how Liam has

allegedly misappropriated the information in breach of his Confidentiality Agreement. Jump has

not identified any forensic records showing downloads, uploads, print jobs, emails, or any other

efforts to exfiltrate any confidential information. Nor has Jump shown how the information could

be of any use to Liam in building a complementary company that could be Jump’s customer, see

supra 12. Even supposing the software code Liam developed for Jump’s validator tool could

somehow be used to develop Liam’s blockchain, that code is nearly entirely open source and

available for anyone to use however they want. See supra 3, nn. 4-5; nClosures Inc. v. Block &

Co., 770 F.3d 598, 602 (7th Cir. 2014) (confidentiality agreements enforceable only “when the

information sought to be protected is actually confidential and reasonable efforts were made to

keep it confidential”).

        Finally, Jump’s conclusory allegation that Liam will “inevitably” use and disclose Jump’s

purported proprietary information if he is permitted to launch his new venture cannot save its

contract claim. To trigger the doctrine, “a plaintiff must show more than the possibility that

defendants could misuse the plaintiff’s trade secrets; it must show that the defendants will misuse

those secrets.” Fleetwood Packaging v. Hein, 2014 WL 7146439, at *7 (N.D. Ill. Dec. 15, 2014)

(emphasis in original); Busey Bank v. Turney, 2022 WL 4079462, at *9 (N.D. Ill. Sept. 6, 2022)

(refusing to apply doctrine where complaint did not demonstrate that defendant “could not operate

or function” in his new role without plaintiff’s trade secrets).

        Where there is no competition at issue and no trade secrets at risk, Jump fails to show why

disclosure is inevitable. At every turn, Jump’s allegations fall short of plausibly alleging breach of

any enforceable contract or obligation, much less any resulting irreparable harm warranting

injunctive relief.



                                                 -15-
  Case: 1:25-cv-00703 Document #: 34-1 Filed: 02/07/25 Page 21 of 21 PageID #:496




                                       CONCLUSION

       For the foregoing reasons, Liam respectfully requests that the Court grant his motion to

dismiss the Complaint.



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                                             -16-
